        Case 8:24-cv-01205-ABA         Document 21    Filed 05/30/24   Page 1 of 1
                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                                            *
Lester Lee                                  *
                            Plaintiff(s)    *
                                            *
                      vs.                   *     Civil Case No.: 8:24−cv−01205−TJS
                                            *
Brookside Park Condominiums, Inc., et       *
al.
                       Defendant(s)         *



                                  SHOW CAUSE ORDER


      Pursuant to Standing Order 2018−04, this case was assigned to a United States
Magistrate Judge for all proceedings and each party was notified to file a consent or
declination within fourteen (14) days after service and entry of appearance. Rammy
Azoulay, Brookside Park Condominiums, Inc., Metropolis or counsel for Rammy Azoulay,
Brookside Park Condominiums, Inc., Metropolis has not filed a consent or declination and
more than fourteen (14) days have passed since notice was issued. Thereby, it is hereby
      ORDERED that Rammy Azoulay, Brookside Park Condominiums, Inc., Metropolis
or counsel for Rammy Azoulay, Brookside Park Condominiums, Inc., Metropolis is to
appear before the designated Chambers Judge on 6/28/2024 at 2:00 p.m. to show cause, if
any, why Rammy Azoulay, Brookside Park Condominiums, Inc., Metropolis or counsel for
Rammy Azoulay, Brookside Park Condominiums, Inc., Metropolis did not file a consent or
declination. Rammy Azoulay, Brookside Park Condominiums, Inc., Metropolis or counsel
for Rammy Azoulay, Brookside Park Condominiums, Inc., Metropolis should proceed to
the Clerk's Office to determine the location of the hearing on the scheduled date; and it is
further
      ORDERED that this Order shall be vacated if Rammy Azoulay, Brookside Park
Condominiums, Inc., Metropolis or counsel for Rammy Azoulay, Brookside Park
Condominiums, Inc., Metropolis files a consent or declination prior to the show cause
hearing date.



Date: May 30, 2024                               _____________/s/______________
                                                 Timothy J. Sullivan
                                                 United States Magistrate Judge
